Case 3:17-cv-05806-RJB Document 356-2 Filed 03/12/20 Page 1 of 5




          EXHIBIT B
     Case 3:17-cv-05806-RJB Document 356-2 Filed 03/12/20 Page 2 of 5
                                                                                                                       1

 1                                   UNITED STATES DISTRICT COURT

 2                       WESTERN DISTRICT OF WASHINGTON AT TACOMA

 3    _____________________________________________________________

 4                                    )
        UGOCHUKWO GOODLUCK NWAUZOR,   )
 5      et al.,                       )
                                      )
 6                     Plaintiffs,    ) 3:17-cv-05769-RJB
                                      ) 3:17-cv-05806-RJB
 7     v.                             )
                                      ) Tacoma, Washington
 8     THE GEO GROUP, INC.,           )
                                      ) January 10, 2020
 9                     Defendant.     )
       ____________________________   ) Preliminary
10                                    ) Pretrial
       STATE OF WASHINGTON,           ) Conference
11                                    )
                       Plaintiff,     ) 10:30 a.m.
12                                    )
       v.                             )
13                                    )
       THE GEO GROUP, INC.,           )
14                                    )
                       Defendant.     )
15                                    )
      _____________________________________________________________
16
                      VERBATIM REPORT OF PROCEEDINGS
17                 BEFORE THE HONORABLE ROBERT J. BRYAN
                       UNITED STATES DISTRICT JUDGE
18    _____________________________________________________________

19

20

21

22

23

24
           P r o c e e d i n g s   s t e n o g r a p h i c a l l y   r e p o r t e d   a n d   t r a n s c r i b e d
25                                   W i t h   c o m p u t e r - a i d e d   t e c h n o l o g y




                     Angela Nicolavo - Court Reporter - 1717 Pacific Ave, Tacoma, WA - 253-882-3832
     Case 3:17-cv-05806-RJB Document 356-2 Filed 03/12/20 Page 3 of 5
                                                                                                   2

 1                                       APPEARANCES

 2

 3      For the Plaintiff                     JAMAL N. WHITEHEAD
        Nwauzor, et al.:                      Schroeter Goldmark & Bender
 4                                            810 Third Avenue
                                              Suite 500
 5                                            Seattle, Washington

 6                                            DEVIN T. THERIOT-ORR
                                              Open Sky Law PLLC
 7                                            20415 72nd Avenue South
                                              Suite 110
 8                                            Kent, Washington

 9                                            R. ANDREW FREE
                                              Law Office of R. Andrew Free
10                                            P.O. Box 90568
                                              Nashville, Tennessee
11

12      For the Plaintiff                     ANDREA BRENNEKE
        State of Washington:                  LANE POLOZOLA
13                                            MARSHA J. CHIEN
                                              800 Fifth Avenue
14                                            Suite 2000
                                              Seattle, Washington
15

16
        For the Defendant                     COLIN L. BARNACLE
17      The GEO Group:                        ADRIENNE SCHEFFEY
                                              Akerman LLP
18                                            1900 Sixteenth Street
                                              Suite 1700
19                                            Denver, Colorado

20                                            JOAN K. MELL
                                              III Branches Law PLLC
21                                            1019 Refents Boulevard
                                              Suite 204
22                                            Fircrest, Washington

23

24

25



                  Angela Nicolavo - Court Reporter - 1717 Pacific Ave, Tacoma, WA - 253-882-3832
     Case 3:17-cv-05806-RJB Document 356-2 Filed 03/12/20 Page 4 of 5
                                                                                                   3

 1                                                                  MORNING SESSION

 2                                                                  JANUARY 10, 2020

 3               THE COURT:            This is the time we set for a preliminary

 4    pretrial conference in Cause Number 17-5769, Nwauzor versus

 5    GEO, and 17-5806, State versus GEO.

 6         Let me call the role here.                       First, for Washington,

 7    Ms. Chien, Ms. Brenneke and Mr. Polozola.

 8         For the plaintiffs, Nwauzor and others, Mr. Whitehead.

 9               MR. WHITEHEAD:               Good morning, Your Honor.

10               THE COURT:            Mr. Theriot-Orr

11               MS. THERIOT-ORR:                 Yes, sir, good morning.

12               THE COURT:            Mr. Free.

13               MR. FREE:           Yes, sir.

14               THE COURT:            For the defendants, Mr. Barnacle.

15               MR. BARNACLE:              Good morning.

16               THE COURT:            Ms. Scheffy and Ms. Mell.

17               MS. MELL:           Good morning, Your Honor.

18               THE COURT:            We have a number of things to cover this

19    morning.     First thing is, I want to get a better feel than I

20    have for exactly what the claims of the plaintiffs are here,

21    and understand a bit more of how you propose to prove your

22    claims.

23         I had this nice sheet with your names on it, and then I

24    covered it up.

25         I guess I should ask Mr. Whitehead to go first and tell me



                  Angela Nicolavo - Court Reporter - 1717 Pacific Ave, Tacoma, WA - 253-882-3832
     Case 3:17-cv-05806-RJB Document 356-2 Filed 03/12/20 Page 5 of 5
                                                                                                   17

 1    have heard.       It seems to me there are things like punishment

 2    for not working or different things that are not within what

 3    you two have described today.                       Are you anticipating any

 4    evidence along those lines of inappropriate activities on the

 5    part of GEO toward detainees?

 6               MS. BRENNEKE:              I am thinking about our claims as

 7    being fairly discrete whether or not the Minimum Wage Act is

 8    being applied for work, and also whether there is an

 9    injustice for them to retain the benefits of those for the

10    unjust enrichment claim moving forward.

11         I believe with the unjust enrichment claim, there is some

12    maybe potential for thinking about the circumstances in which

13    they are working and the injustice of that, that is a bit

14    broader because that is an equitable claim that is a

15    subjective standard.

16         We are not bringing claims you might have seen reported in

17    some of the cases like in Colorado and other places where

18    there is like a forced work situation or other types of

19    claims that I think could be brought in some circumstances.

20    We have not brought those claims.

21         Jamal, I don't know if --

22               MR. WHITEHEAD:               No, I don't have anything further to

23    add.    Certainly, Your Honor, we believe those things to be

24    true.    In terms of what we would try to present and prove at

25    trial, that is not the case we intend to bring.



                  Angela Nicolavo - Court Reporter - 1717 Pacific Ave, Tacoma, WA - 253-882-3832
